

People v Dunn (2024 NY Slip Op 03956)





People v Dunn


2024 NY Slip Op 03956


Decided on July 26, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on July 26, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: LINDLEY, J.P., CURRAN, OGDEN, GREENWOOD, AND KEANE, JJ.


427 KA 22-00630

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vJAMES DUNN, DEFENDANT-APPELLANT. (APPEAL NO. 2.) 






KEEM APPEALS, PLLC, SYRACUSE (BRADLEY E. KEEM OF COUNSEL), FOR DEFENDANT-APPELLANT.
WILLIAM J. FITZPATRICK, DISTRICT ATTORNEY, SYRACUSE (DAVID D. BASSETT OF COUNSEL), FOR RESPONDENT. 


	Appeal from a judgment of the Onondaga County Court (Stephen J. Dougherty, J.), rendered March 31, 2022. The judgment convicted defendant, upon his plea of guilty, of promoting prison contraband in the first degree and conspiracy in the fifth degree. 
It is hereby ORDERED that the case is held, the decision is reserved, and the matter is remitted to Onondaga County Court for further proceedings in accordance with the same memorandum as in People v Dunn ([appeal No. 3] — AD3d — [July 26, 2024] [4th Dept 2024]).
Entered: July 26, 2024
Ann Dillon Flynn
Clerk of the Court








